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046855/20171/RCH/ELA/JFM/SJD

                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

ERNEST LANEY,

                     Plaintiff,

v.

JOHN DOE, Individually and as actual or           Case Number 20-cv-02811
apparent agent of UBER TECHNOLOGIES,
INC. and/or LYFT, INC.; UBER
TECHNOLOGIES, INC., a Delaware
Corporation; and LYFT, INC., a Delaware
Corporation, also d/b/a LYFT ILLINOIS, INC.,

                     Defendants.

                                   NOTICE OF REMOVAL

       NOW COMES the Defendant, LYFT, INC., by and through its attorneys, Michael P.

Moothart, Richard C. Huettel, Erik L. Andersen, and James F. Maruna, of CASSIDAY

SCHADE LLP, and for its Notice of Removal, pursuant to 28 U.S.C. § 1446, states as follows:

                     Background and State Court Procedural Posture

       1.     Plaintiff, ERNEST LANEY, filed his initial complaint in the Circuit Court of

Cook County on August 22, 2019. See Cook County Docket Sheet, attached as Exhibit A. The

Complaint named Defendant, UBER TECHNOLOGIES, INC. (“Uber”) and JOHN DOE, as

defendants. (Ex.A). Plaintiff served Defendant Uber on or before November 19, 2019. See

(Ex.A) (Filing Date of Uber's Appearance in Cook County Circuit Court). Plaintiff never served

Defendant John Doe. (Ex.A).

       2.     On March 13, 2020, Plaintiff filed his Second Amended Complaint adding LYFT,

INC. d/b/a Lyft Illinois, Inc. (“Lyft”) as a named Defendant. See Second Amended Complaint,

attached as Exhibit B. Plaintiff’s Second Amended Complaint raises counts against three
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defendants: (1) Uber; (2) Lyft; and (3) John Doe. (Ex.B). Plaintiff alleges negligence against all

three defendants stemming from an alleged accident that occurred on September 27, 2018

between the Plaintiff, a bicyclist, and an automobile passenger’s open rear door. (Ex.B at Counts

I-III, ¶¶ 2-10). Per the Second Amended Complaint, the alleged accident occurred at 745 N.

Damen Street in the City of Chicago, which is located in the County of Cook, State of Illinois.

See (Ex.B at Counts I-III, ¶ 2). As a result of the alleged accident, Plaintiff claims that he

sustained injuries of a "severe and permanent nature, and damages, including but not limited to,

disfigurement, pain and suffering, loss of a normal life, medical expenses, and loss of income."

(Ex.B at Count 1, ¶ 11; Counts II-III, ¶ 18).

       3.      Plaintiff served Defendant Lyft with the Second Amended Complaint on April 9,

2020. See Service of Process, attached as Exhibit C.

       4.      Plaintiff has not served Defendant John Doe.

I.     This Litigation Satisfies the Requirements for Diversity Jurisdiction Pursuant to 28
       U.S.C. § 1332

       5.      Pursuant to 28 U.S.C. § 1332, a party may invoke Federal Jurisdiction where

there is: (1) complete diversity of the Parties; and (2) more than $75,000 in controversy alleged.

       6.      First, there is complete diversity of parties. Plaintiff is a citizen of the State of

Illinois. See Illinois Traffic Crash Report, attached as Exhibit D (listing Plaintiff's address in the

City of Chicago at the time of the accident). Based on Defendant's research, as of the date of the

filing of the instant Notice of Removal, Plaintiff continues living in the City of Chicago at a

different address than is listed in the Police Report.

       7.      Defendant Uber is a citizen of Delaware and California. Uber is a corporation

organized under the laws of the State of Delaware. See (Ex.B at Count II, ¶ 12) ("Defendant,

UBER...was a corporation incorporated in the state of Delaware....") Uber's principal place of



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business is San Francisco, California. See Illinois Secretary of State Corporation File Detail

Report for Uber Technologies, Inc., attached as Exhibit E.

       8.      Defendant Lyft is also a citizen of Delaware and California. Lyft is a corporation

organized under the laws of the State of Delaware. See (Ex.B at Count III, ¶ 12) ("Defendant,

LYFT...was a corporation incorporated in the state of Delaware...."). Lyft's principal place of

business is San Francisco, California. See Illinois Secretary of State Corporation File Detail

Report for Lyft, Inc., attached as Exhibit F.

       9.      Defendant John Doe is not identified in Plaintiff's Second Amended Complaint.

(Ex.B). Nor has Plaintiff served Defendant John Doe with process.

       10.     Second, this matter contains more than $75,000 in controversy. In his Second

Amended Complaint, Plaintiff alleges that as a direct and proximate result of the alleged

accident, he sustained injuries of a "severe and permanent nature, and damages including but not

limited to, disfigurement, pain and suffering, loss of a normal life, medical expenses and loss of

income." and Plaintiff states that he seeks recovery in excess of $50,000. See (Ex.B at Count I, ¶

11; Counts II-III, ¶ 18). Because Illinois does not require a party to plead a maximum amount of

damages in a state law negligence case, the Plaintiff claimed only that his damages exceed

$50,000 in his underlying State Court Complaint rather than pleading a maximum value. See 28

U.S.C. § 1446(c)(2)(A)(ii). Plaintiff seeks damages in excess of $50,000 in each count, thus he

seeks at least $150,000 in damages. Moreover, the nature of Plaintiff’s alleged injuries, and the

value of his claimed economic and non-economic damages clearly place more than $75,000 in

controversy in this matter. See 28 U.S.C. § 1446(c)(2)(B). Specifically, Plaintiff claims that the

accident injured his lower leg causing medical expenses, and permanent disfigurement. See

(Ex.B at Count I, ¶ 11; Counts II-III, ¶ 18). Additionally, Plaintiff claims lost income from his




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job, which, upon information and belief, is as a practicing medical doctor - a neuroradiologist.

Id. The amount of damages that Plaintiff alleges in his Second Amended Complaint places more

than $75,000 in controversy.

        11.     Accordingly, this lawsuit meets both of diversity jurisdiction's elements: (1)

complete diversity of parties and (2) more than $75,000 alleged in controversy. 28 U.S.C. §

1332.

        12.     Next, venue is proper in this judicial district. Pursuant to 28 U.S.C. § 1391(b)(2),

venue is proper in a judicial district in which a substantial part of the events or omissions giving

rise to the claim occurred. Plaintiff’s Second Amended Complaint alleges that his injuries stem

from a bicyclist and motor vehicle collision that occurred in Cook County, Illinois. (Ex.B at

Counts I-III, ¶¶ 2-11). Accordingly, a substantial portion of the events giving rise to this

accident occurred in Cook County, Illinois. Cook County, Illinois is located in the Northern

District of Illinois, Eastern Division. Therefore, this litigation’s proper venue is the Northern

District of Illinois, Eastern Division.

II.     Lyft Timely Filed Its Notice of Removal Pursuant to 28 U.S.C. § 1446

        13.     Lyft timely filed its Notice of Removal. Pursuant to 28 U.S.C. § 1446(b)(2)(B), a

party seeking removal must file notice “within thirty days after receipt by the defendant, through

service or otherwise, a copy of the initial pleading setting forth the claim for relief upon which

such action or proceeding is based.”

        14.     Plaintiff did not name Lyft as a defendant in this matter until March 13, 2020, and

did not serve Lyft until April 9, 2020. (Ex.A); (Ex.B). Accordingly, Lyft has thirty (30) days

from April 9, 2020, to file its notice of removal, or more particularly, Lyft has until May 9, 2020




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to file its notice of removal. Lyft satisfied the requirement for timely filing Notice of Removal

pursuant to 28 U.S.C. § 1446(b)(2)(B).

        15.     However, Lyft is not this action’s only defendant. Plaintiff issued summons

against Uber on August 27, 2019 and served Defendant Uber prior to November 19, 2019. See

(Ex.A) (the filing date of Uber's appearance in State Court). Uber did not elect removal to

Federal Court at that time. Therefore, Uber’s deadline to remove to Federal Court expired in

December 2019. (Ex.A); 28 U.S.C. § 1446(b). However, 28 U.S.C § 1446(b)(2)(C) provides

that if defendants are served at different times in the lawsuit, and a later-served defendant files a

notice of removal, any earlier-served defendant “may consent to the removal even though that

earlier served-defendant did not previously initiate or consent to removal.” Thus, when Plaintiff

perfected service over Lyft on April 9, 2020, Uber’s removal window re-opened for a period of

time contemporaneous with Lyft’s removal window.            Therefore, because Lyft’s removal is

timely filed, Uber’s removal is also timely. (Ex.A); (Ex.B); 28 U.S.C. § 1446(b)(2)(C).

        16.     Furthermore, 42 U.S.C. § 1446(b)(2)(A) provides that all properly served and

joined defendants must consent to removal. Therefore, in order to remove this matter to Federal

Court, Lyft must secure Uber’s written consent to remove this matter to Federal Court. See

Gossmeyer v. McDonald, 128 F.3d 481, 489 (7th Cir. 1997) (“...all served defendants still have

to support the petition in writing, i.e., sign it.”)

        17.     Uber provided its written consent of removal by signing this Notice of Removal.

        18.     Because the third named Defendant, John Doe, is neither identified nor served, he

or she need not consent to removal prior to Lyft filing the instant Notice of Removal. Green

Tree Servicing, LLC v. Williams, No. 14-CV-888, 2014 U.S. Dist. LEXIS 85306, * 8-9, 2014

WL 2865905 (N.D. Ill. June 24, 2014).




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       19.     Therefore, Lyft has satisfied all requirements for removing this action to Federal

Court. 28 U.S.C. § 1446(b)(2)(A)-(C).

       20.     Because this lawsuit meets the requirements for diversity jurisdiction, and Lyft

timely filed and served its Notice of Removal, this instant lawsuit qualifies for removal to

Federal Court. Therefore, Lyft requests this lawsuit’s removal from Cook County Circuit’s

Court’s Law Division to the United States District Court for the Northern District of Illinois,

Eastern Division

       WHEREFORE, Defendant, LYFT, INC., respectfully requests that this cause of action’s

removal to the United States District Court for the Northern District of Illinois, Eastern Division.

                                              Respectfully submitted,

                                              LYFT, INC.

                                              By: /s/ James F. Maruna
                                                 Michael P. Moothart / ARDC No. 6299545
                                                 Richard C. Huettel / ARDC No. 6190664
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                                                     Counsel for Defendant, Lyft, Inc.

                                              UBER TECHNOLOGIES, INC.

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                                       Counsel for the Defendant, Uber Technologies,
                                       Inc.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on May 8, 2020, I electronically filed the foregoing document with

the clerk of the court for the Northern District of Illinois, using the electronic case filing system

of the court. A copy of this Notice was sent to the following attorneys via United States Mail

and electronic mail message:

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